
USCA1 Opinion

	










          July 6, 1995          [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                             


                                 ____________________


        No. 94-1772 

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                CHRISTOPHER ONYEJEKWE,

                                Defendant, Appellant.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND


                 [Hon. Francis J. Boyle, Senior U.S. District Judge]
                                         __________________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                           Selya and Stahl, Circuit Judges.
                                            ______________

                                 ____________________

            Christopher Onyejekwe on brief pro se.
            _____________________
            Sheldon Whitehouse, United  States Attorney, and James H.  Leavey,
            __________________                               ________________
        Assistant United States Attorney, on brief for appellee.


                                 ____________________


                                 ____________________
























                 Per  Curiam.   On  May  2,  1994, appellant  Christopher
                 ___________

            Onyejekwe pled  guilty to  one  count of  credit card  fraud.

            Sentence  was imposed on July 8, 1994.  This appeal followed.

            Appellant seeks to vacate his guilty plea and sentence on the

            ground of ineffective assistance of counsel.  He also alleges

            various sentencing  errors.  In particular,  he contends that

            the district court erred  (1) in applying the obstruction-of-

            justice enhancement based on a finding that he lied about his

            residence at  the suppression  hearing; (2) in  assessing him

            two  criminal  history points  based  on  a finding  that  he

            committed the instant offense (i.e., relevant  conduct) while

            serving a state sentence of probation; and (3) in determining

            the amount  of restitution.   For the  following reasons,  we

            affirm.

                                      BACKGROUND

                 Because  appellant's conviction  resulted from  a guilty

            plea,  we derive  the  pertinent facts  from the  uncontested

            portion of  the  Presentence Investigation  Report (PSR),  as

            well  as the remainder of the  record.1  See United States v.
                                                     ___ _____________


                                
            ____________________

            1.  This  record  includes transcripts  of  the arraignments,
            evidentiary   hearing  on   the  motion   to  suppress,   and
            disposition  hearing.    We  note  that  appellant's appendix
            includes many documents  which were not filed in the district
            court--including  transcripts of  testimony before  the grand
            jury--and are, thus, outside the record.  See Fed. R. App. P.
                                                      ___















            Tejada-Beltran, 50 F.3d 105, 107 (1st  Cir. 1995). On October
            ______________

            15,  1993, appellant and  his co-defendant, Elizabeth Mogaji,

            were secretly indicted with five  counts of fraudulent use of

            access  devices.2  18 U.S.C.    1029(a)(2), 2.  Appellant was

            arrested on  October 20, 1993.  At the time of his arrest, he

            was  carrying "a  list  of names,  dates  of birth,  mothers'

            maiden names,  etc."   An arraignment  and bail hearing  were

            held  on  October 21,  1993.    Appellant informed  pre-trial

            services  and the  magistrate that  he lived at  202 Bellevue

            Avenue, Providence.  The government proffered that  appellant

            actually resided at 10 Stamford Avenue, Providence.

                 On October 22, 1993, Mogaji  was arrested at 10 Stamford

            Avenue,  where  she  was  living  under  the  name  of Althea

            Medeiros.   On October  25, 1993,  federal agents  executed a

            search warrant at 10 Stamford Avenue.  Among the items seized

            were credit cards in the names of Althea Medeiros and John P.

            Medeiros and documents in the names of  Onyejekwe and Mogaji.

            On  October 29, 1993, a federal agent seized two plastic bags

            from  the  cellar  of  the  Stamford property.    These  bags

            contained incriminating documents, including GM  credit cards

            in  the names  of  Althea and  Leonard Medeiros;  counterfeit

            drivers' licenses in various false names with a photograph of


                                
            ____________________

            10(a).  These latter documents, of  course, cannot inform our
            decision. 

            2.  Elizabeth Mogaji is appellant's girlfriend.

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            appellant  or Mogaji;  a list  of names  and other  data; and

            blank credit card applications.

                 On  November  3,  1993,  a  superseding  indictment  was

            returned  which added  a conspiracy count  (Count 1),  see 18
                                                                   ___

            U.S.C.   371, to the five counts of credit card fraud (Counts

            2-6).   Several  months  later, appellant  filed a  motion to

            suppress  the evidence  seized  at the  Stamford property  on

            October 29, 1993.   An evidentiary hearing was held  on April

            8,  1994.  At this hearing, appellant testified that he lived

            at 10 Stamford Avenue, and that he had placed the two plastic

            bags of documents  in his own laundry dryer in  the cellar at

            that address.  He  admitted that he told the  magistrate that

            he  lived at 202 Bellevue  Avenue, but testified  that he had

            two  residences.   The district  court denied  the motion  to

            suppress  on the ground that appellant  lacked standing.  The

            court stated in pertinent part:

                      It further  seems to me  that insofar  as
                      Mr. Onyejekwe is concerned we're going to
                      hold him to  what he told  the Magistrate
                      Judge.  That  he lived  at 202  Bellevue.
                      That was his home.  So that he would have
                      no  expectation of  privacy in  number 10
                      Stanford Street [sic] in any event.

                 Appellant  pled guilty  to  Count 3  of the  superseding

            indictment  on  May  2,  1994.    The  remaining  counts were

            dismissed.  Prior to sentencing, a PSR was prepared.  The PSR

            identified appellant's legal address as 202 Bellevue  Avenue.

            Appellant objected on  the ground that the PSR should reflect



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            that he maintained  a second address  at 10 Stamford  Avenue.

            The probation officer responded that during the course of his

            presentence  interview,  appellant  advised  that  his  legal

            address  was 202 Bellevue Avenue, that Mogaji had moved to 10

            Stamford Avenue, and that  appellant would periodically  stay

            with  her but maintained his legal  residence as 202 Bellevue

            Avenue.

                 A sentencing hearing was held on July 8, 1994.  Based on

            a total offense level  of 15 and a criminal  history category

            of III,  the court determined the  guideline sentencing range

            to be 24-30  months.   Appellant was sentenced  to 28  months

            imprisonment, followed by a period of supervised release.  He

            was also  ordered to pay restitution to  Chase Manhattan Bank

            in the amount of $7,036.17.     

                                      DISCUSSION

            I.   INEFFECTIVE ASSISTANCE OF COUNSEL

                 Appellant,  who  was  represented  by  three  successive

            court-appointed  attorneys, argues that each of his attorneys

            was  inept and  that  their  combined  deficient  performance

            rendered  his guilty plea involuntary.  He also contends that

            his third attorney's assistance at the sentencing hearing was

            incompetent.    Ordinarily,  we  do not  address  ineffective

            assistance of counsel arguments on  direct appeal.  This case

            is no  exception.  Appellant  alleges, inter  alia, that  his
                                                   _____  ____

            attorneys failed  to investigate his case,  were ignorant and



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            ill-prepared, and provided  him with misleading  information.

            These charges depend upon  evidentiary matters which are best

            considered by the district court in the first instance.  See,
                                                                     ___

            e.g.,  United States  v. McGill,  952 F.2d  16, 19  (1st Cir.
            ____   _____________     ______

            1991)  (fact-specific claims  of ineffective  assistance must

            originally be presented to the district court).  Accordingly,

            appellant's claim  of ineffective assistance is  not properly

            before us.

            II.  SENTENCING

                 A. Obstruction of Justice 

                 U.S.S.G.   3C1.1 directs  the district court to increase

            a defendant's offense  level by two levels  "if the defendant

            willfully obstructed or impeded,  or attempted to obstruct or

            impede,   the   administration   of   justice    during   the

            investigation,  prosecution,  or  sentencing of  the  instant

            offense."  The enhancement  applies where a defendant commits

            perjury.  See U.S.S.G.    3C1.1, comment. (n.3(b)); see  also
                      ___                                       _________

            United  States v.  Dunnigan,  113 S.  Ct.  1111, 1116  (1993)
            ______________     ________

            (defining perjury).  In the instant  case, the district court

            found  that appellant  perjured  himself  at the  suppression

            hearing.   Accordingly,  the court  made a  two level  upward

            adjustment to appellant's offense level.  

                 Appellant contends  that  the district  court failed  to

            identify which  portions of his  testimony it believed  to be

            false.   This contention  is misplaced.   The district  court



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            specifically found  that appellant was not  telling the truth

            when he testified that he lived at 10 Stamford Avenue, a fact

            material to the issue of his  standing to bring the motion to

            suppress.   The  district  court  was  not required  to  make

            further subsidiary  findings or to explain  its evaluation of

            appellant's  testimony.  See United States  v. Tracy, 36 F.3d
                                     ___ _____________     _____

            199, 203 (1st  Cir.), cert. denied, 115 S. Ct. 609 (1994).
                                  ____________

                 Appellant   also  argues  that   there  is  insufficient

            evidence  to support  the court's  finding that  he testified

            falsely.    We  disagree.    Although  the  location  of  his

            residence  was an  issue from  the very  beginning, appellant

            consistently maintained that he  lived at 202 Bellevue Avenue

            until the  suppression hearing where, for the  first time, he

            stated  to the  district court  that he  maintained a  second

            residence at 10 Stamford  Avenue.  The court was  entitled to

            greet this conveniently-timed  announcement with  skepticism.

            Moreover, the record discloses that appellant professes to be

            indigent.  Under the circumstances, his testimony that he has

            two  residences is  implausible,  at  least  without  further

            explanation.

                 We are, of course, mindful that, at the arraignment, the

            government proffered that  appellant resided  at 10  Stamford

            Avenue.   The government  stated that federal  agents "staked

            out" that  address and arrested  appellant when  he left  the

            house.   In addition,  documents belonging to  appellant were



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            seized  from 10  Stamford  Avenue.   However, appellant  told

            probation that  he would periodically stay  with Mogaji after

            she moved to 10 Stamford Avenue.  This may explain why he was

            observed  departing 10  Stamford Avenue and  why some  of his

            personal  papers  were found  there,  but  the evidence  also

            suggests  that it was Mogaji, not appellant, who lived at the

            Stamford address.  Given the conflicting inferences which may

            be drawn from  the evidence,  and with due  deference to  the

            sentencing  court's superior  opportunity  to assess  witness

            credibility, we  cannot say  that the district  court clearly

            erred  in  finding that  appellant  lied  at the  suppression

            hearing.3   United  States v.  Brum, 948  F.2d 817,  819 (1st
                        ______________     ____

            Cir.  1991) (finding  of perjury  reviewed for  clear error);

            United  States v. Martinez, 922 F.2d 914, 925 (1st Cir. 1991)
            ______________    ________

            (where  there  is  more  than  one  plausible  view   of  the

            circumstances,  a sentencing court's choice among supportable

            alternatives cannot be clearly erroneous).

                 B. Criminal History 



                                
            ____________________

            3.  We  also reject appellant's  contention that the district
            court  erred in failing to evaluate his testimony "in a light
            most favorable to the defendant[,]" as required by U.S.S.G.  
            3C1.1, commentary n.1.  We  have repeatedly stated that  this
            "commentary" merely requires the district court to resolve in
            the  defendant's  favor  "`those  conflicts about  which  the
            judge, after weighing the evidence, has no firm conviction.'"
            Tracy, 36 F.3d at 204 (quoting United States v. Rojo-Alvarez,
            _____                          _____________    ____________
            944 F.2d 959, 969 (1st Cir. 1991) (quoting  other circuits)).
            In this case, the  district court did have a  firm conviction
            that perjury had been committed.

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                 Appellant's criminal history includes a January 21, 1993

            state  conviction for embezzlement and an April 2, 1993 state

            conviction for credit  card fraud.  In  both cases, appellant

            was sentenced to  probation.  Acting  pursuant to U.S.S.G.   

            4A1.1(c),  the  district  court  assessed  him  two  criminal

            history points  for these prior  sentences.   The court  then

            added two additional criminal history points under   4A1.1(d)

            on the  ground that appellant committed  the relevant conduct

            while serving a sentence of probation.4

                 Appellant  argues  that  the  district  court  erred  in

            assessing him the two additional points under   4A1.1(d).  In

            particular,  he   contends  that   he  should  not   be  held

            accountable  for the  conduct  involved in  Count 6,  namely,

            eighteen  cash   withdrawals  made  by  Mogaji   using  a  GM

            Mastercard  between  October  26,  1992 and  June  13,  1993.

            Appellant claims that he was under immigration detention when

            these withdrawals  were made  and was facing  prosecution for

            use of the  same credit  card.  Under  the circumstances,  he

            argues, Mogaji's  conduct was  not foreseeable, and,  so, not

            relevant  conduct  within the  meaning  of  U.S.S.G.    1B.3.


                                
            ____________________

            4.  The  commentary to  U.S.S.G.    4A1.1 states  that "[t]wo
            points are added if  the defendant committed any part  of the
            instant offense (i.e., any  relevant conduct) while under any
                             ____
            criminal  justice sentence."    U.S.S.G.     4A1.1,  comment.
            (n.4).  Relevant conduct is defined at U.S.S.G.   1B1.3.  See
                                                                      ___
            United  States v.  Smith,  991 F.2d  1468, 1470-71  (9th Cir.
            ______________     _____
            1993) (holding  that "instant offense"  under    4A1.1(d)-(e)
            includes "relevant conduct" pursuant to   1B1.3).

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            Accordingly, he further argues, the district court should not

            have considered  this  conduct in  calculating  his  criminal

            history under   4A1.1(d). 

                 We need not resolve this issue of foreseeability or  the

            question,  raised  in  appellant's  reply  brief,  whether   

            4A1.1(d)  permits a  sentencing  court  to consider  relevant

            conduct  committed   by  a  co-defendant  in   calculating  a

            defendant's  criminal history.   Count  1 of  the superseding

            indictment alleged a conspiracy between appellant and Mogaji.

            Based on the undisputed  facts in the PSR, we  think there is

            ample evidence that appellant conspired to commit credit card

            fraud and that his involvement in the conspiracy continued at

            least until the date of his arrest, October 20, 1993, when he

            was found  to be carrying "a  list of names, dates  of birth,

            mothers'  maiden names, etc."  See  United States v. Pinnick,
                                           ___  _____________    _______

            47 F.3d 434, 437 (D.C. Cir. 1995) (district court may rely on

            undisputed facts in PSR  to conclude that defendant committed

            any extraneous  acts offered  as relevant conduct).   Indeed,

            appellant's possession of the list of names and other data on

            October  20,  1993 was  an overt  act  in furtherance  of the

            conspiracy.    This was  relevant  conduct  committed by  the

            defendant,  himself,  while  serving  a   state  sentence  of









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            probation.  Accordingly,  there was  no error  in adding  two

            criminal history points under   4A1.1(d).5





                 C.  Restitution

                 Appellant  contends that  the  district  court erred  in

            ordering him to  pay restitution to  Chase Manhattan Bank  in

            the amount of  $7,036.17 for  the loss involved  in Count  3.

            The dollar amount was apparently based on credit card charges

            made by appellant  and Mogaji  on two  separate occasions  at

            Lechmere using  a  Chase  Manhattan  Mastercard.    Appellant

            contends that the amount owed to the bank should be offset by

            the  value of  certain goods  which they  did not  succeed in

            carrying away  from Lechmere.   We decline to  entertain this







                                
            ____________________

            5.  We  also reject  appellant's argument  that the  district
            court failed to  resolve disputed issues of  fact as required
            by former Fed.  R. Crim. P.  32(c)(3)(D) (current version  at
            Rule  32(c)(1)).   The  PSR assessed  appellant two  criminal
            history  points under   4A1.1(d).   In his  objections to the
            PSR  and at sentencing, defense  counsel argued that this was
            error because  the specific  offense to which  Onyejekwe pled
            guilty  (Count 3)  occurred  before Onyejekwe  was placed  on
            probation.  This objection to the PSR's legal conclusion  did
            not dispute a factual assertion.  We add that in the addendum
            to the PSR, the probation officer clarified that the criminal
            history  points  under     4A1.1(d) were  based  on  relevant
            conduct.     Defense  counsel  never  took   issue  with  the
            conclusion that the conduct  involved in the dismissed counts
            was relevant conduct.

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            claim since it was never raised below.  See  United States v.
                                                    ___  _____________

            Alzanki, 1995 WL 319028 at *12 (1st Cir. June 1, 1995).6
            _______

                 Affirmed.7
                 ________
























                                
            ____________________

            6.  Appellant  also  argues that  Chase  Manhattan  Bank will
            receive a windfall since  he and Mogaji were each  ordered to
            pay  $7,036.17  in  restitution.   We  think  it  plain  that
            appellant will receive credit  for restitution paid by Mogaji
            towards the loss involved in Count 3, and vice versa.

            7.  We  also  deny  appellant's  request that  we  order  the
            district  court  to  produce   the  audio  recording  of  the
            suppression  hearing.   Appellant  contends  that  the  court
            reporter prepared  two transcripts  of his testimony  at that
            hearing,  that the transcripts differ,  and that it cannot be
            determined  which of  the two  is accurate  without comparing
            them  to  the audio  recording.   He  also suggests  that the
            district court may have relied on an inaccurate transcript of
            his testimony  when it  determined that he  perjured himself.
            Appellant  has   not  followed   the  proper  procedure   for
            clarifying the  record.  See Fed.  R. App. P. 10(e).   In any
                                     ___
            event, we see nothing to be gained by remanding the matter to
            the  district  court.     The  differences  between  the  two
            transcripts are insignificant.  

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